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                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

SUSAN K. LINDSLEY, ​e a ​.,                 )      Case No. 5:20-CV-00663
                                            )
       Plaintiffs,                          )      JUDGE:        SARA LIOI
                                            )
                                            )      MAGISTRATE JUDGE:
                                            )      KATHLEEN B. BURKE
                 s.                         )
                                            )      Plaintiffs Susan K. Lindsle s
                                            )      Motion for se en (7) da sta of this
                                            )      Honorable Court s No ember 17, 2020
SPRINGFIELD TOWNSHIP, ​e a .​,              )      Order regarding the representation of
                                            )      Plaintiff s minor children.
       Defendants.                          )
                                            )

       No     comes Plaintiff, Susan K. Lindsle , b and through counsel, and does hereb mo e

this Honorable Court for a se en (7) da sta of this Court s No ember 17, 2020 Order (ECF #

27) regarding the representation of Plaintiff Susan Lindsle s t o minor children and Mr. Paul

Kelle s requirement to file a Motion for pro hac ice. Plaintiff s undersigned counsel submits

that it full understood this Court s No ember 17, 2020 Orders as       ell as the urgenc and

seriousness    ith    hich the   ere issued. Indeed, toda undersigned counsel deli ered to a

document cop ing/duplication ser ice o er fi e (5) tabbed folders of organi ed documents, an

audio CD, and t o flash dri es ith ideo footage. These records are responsi e to Defendants

 arious Requests for Production of Documents and are going to be placed on flash dri es for all

Defense counsel and Co-Plaintiff s counsel. These records     ere ordered   ith the instructions
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that the order be completed as soon as possible. The         ork is e pected to be completed this

e ening.

       Ho e er, undersigned counsel has not been able to adequatel             communicate      ith

Plaintiff Susan Lindsle regarding the representation of her minor children hat role, if an , Mr.

Paul Kelle     ill ha e in that representation. Plaintiff seeks a se en (7) da sta of the Court s

No ember 17, 2020 Order to finali e an understanding           ith Ms. Lindsle and Mr. Kelle

regarding the representation of Plaintiff s minor children. This request for a brief period of time

takes into account both the Thanksgi ing Holida and the current sta -home orders recentl

issued b the Cit of Cle eland and Cu ahoga Count .

       WHEREFORE, Plaintiff Susan Lindsle              mo es this Honorable Court for an Order

sta ing its No ember 17, 2020 Order (ECF # 27) or up to an including No ember 27, 2020,

regarding Mr. Paul Kelle s requirement to file a motion for pro hac ice and/or for additional

counsel to file a notice of representation of counsel, and/or Mr. Paul Cristallo to e clusi el take

o er the representation of the minor Plaintiffs.


                                              Respectfull submitted,


                                              _​/s/ ​Pa J. C i a ​________________
                                              PAUL J. CRISTALLO (0061820)
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                                              Counsel for Plaintiffs Susan K. Lindsle
                                              and Minors G.M. and R.M..



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                              CER IFICA E OF ER ICE

I certif that on this 20th da of No ember, 2020 the foregoing Plaintiff Susan K. Lindsle s

Motion for Se en (7) da Sta of This Court s No ember 17, 2020 Order Regarding the

Representation of Plaintiff s Minor Children    as filed electronicall . Notice of this filing   ill

be sent to all parties b operation of the Court s electronic filing s stem. Parties ma access this

filing through the Court s s stem.



                                             /​s/ Paul J. Cristallo________
                                             PAUL J. CRISTALLO (0061820)
                                             Counsel for Plaintiffs Susan K. Lindsle and
                                             Minors G.M and R.M.




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